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                     ORDER ESTABLISHING PROCEDURES
          FOR CASES ASSIGNED TO JUDGE COLLEEN KOLLAR-KOTELLY

        In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least
possible cost, it is, hereby

        ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of
sanctions.

1.     SERVICE OF COMPLAINT. Plaintiff(s) must promptly serve the complaint on
       Defendant(s) in accordance with Federal Rule of Civil Procedure 4 and file proof of
       service in accordance with Rules of the United States District Court for the District of
       Columbia (“Local Civil Rules”) Rule 5.3.

2.     REMOVED ACTIONS. Defendant(s) removing an action to this Court must re-file any
       answer as a supplement to the petition and re-notice any pending motion.

3.     DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL
       INTERESTS. Where a corporation is a party or intervenor, counsel of record for that
       party or intervenor shall file a certificate listing any parent, subsidiary, or affiliate of that
       party or intervenor which, to the knowledge of counsel, has any outstanding securities in
       the hands of the public. Such certificate shall be filed with the party’s first pleading. The
       purpose of this certificate is to enable the Judges of this Court to determine the need for
       recusal. Counsel have the continuing obligation to advise the Court of any change.
       See LCvR 7.1.

4.     ELECTRONIC FILING. All documents in this case are to be filed electronically,
       except with prior leave of the Court upon good cause shown, and in the case of the
       exceptions noted below. All electronically filed documents are to be in Portable Data
       Format (.pdf). In order to enable the Court’s efficient resolution of all matters in this case,
       all filings shall be submitted in text searchable PDF files, directly converted from the
       word-processing format into PDF so as to preserve their searchability and readability.
       (The Court recognizes an exception for exhibits that must be scanned because they exist
       only in paper format.).

       (A)     EXCEPTIONS TO ELECTRONIC FILING.

                   (i) Every document filed under seal in a totally sealed case shall be filed in
                       paper form accompanied by an electronic copy in a format deemed
                       compatible by the Clerk’s Office with CM/ECF filing. See LCvR
                       5.4(e)(1).

                  (ii) In a case involving a pro se party, electronic filing procedures will be
                       followed by parties represented by counsel only. The party appearing
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             pro se shall continue to file documents in paper form with the Clerk’s
             Office. Parties represented by counsel must serve documents upon pro se
             parties in paper form.

(B)   Absent specific statutory authority, a proposed sealed document in an otherwise
      unsealed case must be accompanied with a motion to seal. in accordance with
      Local Civil Rule 5.1(h) and filed pursuant to the procedures established by the
      Clerk’s Office. Motions to seal should explain why sealing is appropriate with
      reference to the factors identified in United States v. Hubbard, 650 F.2d 293 (D.C.
      Cir. 1980). Failure to file a proper motion to seal may result in the document
      being placed in the public record.

(C)   CM/ECF Passwords may only be used only by the person to whom they are
      assigned or, in the case of an attorney, by that attorney or an authorized employee
      or agent of that attorney’s law office or organization. The use of a CM/ECF
      password to login and submit documents creates an electronic record that operates
      and serves as the signature of the person to whom the password is assigned for
      all purposes under the Federal Rules of Civil Procedure and the Local Rules of
      this Court.

(D)   The electronic submission of any document in accordance with these procedures
      constitutes filing for all purposes under the Federal Rules of Civil Procedure and
      the Local Rules of this Court and simultaneously creates an official docket entry.
      A person filing by electronic means is responsible for ensuring the accuracy of the
      official docket entry generated by the CM/ECF software. See LCvR 5.3(c)(2).

(E)   No certificate of service is required for documents filed electronically. Service is
      complete upon electronic submission of an order or document and will be effected
      by electronic notice. Counsel are responsible for monitoring their e-mail accounts
      and, upon receipt of notice of an electronic filing, for retrieving the order or
      document electronically.

(F)   Electronically filing a document that contains a declaration, verification,
      certificate, sworn statement, oath or affidavit certifies that the original signed
      document is in the possession of the attorney or pro se party responsible for the
      filing and that it is available for review upon request by a party or by the Court.
      LCvR 5.4(b)(5)

(G)   The Court may take into consideration technical difficulties experienced by a filer
      when presented a late filing. However, parties who wait until the last minute to
      begin filing are warned that technical difficulties do not necessarily constitute
      “good cause” or “excusable neglect” justifying an extension of the applicable
      deadline(s). FED. R. CIV. P. 6(b). Further, no allowance can be made for late
      filing documents whose time limits are jurisdictional.

(H)   Attorneys are to be precise in describing the type of document and requested
      relief when making electronic filings with the Court, because that description
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            becomes the official docket entry recorded in the case. Failure to be accurate and
            thorough in the description of documents electronically filed may result in action
            adverse to the attorney.

5.   COMMUNICATIONS WITH THE COURT. The parties should endeavor to keep
     communications with Chambers to a minimum. Ex parte communications on matters
     other than scheduling are strictly prohibited; if the parties need to contact Chambers, it
     must be done jointly pursuant to a conference call arranged by the parties.

6.   APPEARANCES AT HEARINGS. Principal trial counsel must appear at all hearings
     unless excused by the Court in advance.

7.   MOTIONS FOR EXTENSIONS OF TIME AND RE-SCHEDULING OF
     HEARINGS. Motions for extensions of time and to re-schedule hearings are strongly
     discouraged; they will be granted only in truly exceptional or compelling circumstances
     and parties should not expect the Court to grant extensions. The Court will not entertain
     or honor stipulations for extensions of time or for the re-scheduling of hearings; parties
     must file a written motion in accordance with the following instructions:

     (A)    Motions for extensions of time must be filed at least four (4) business days
            prior to the first affected deadline.

     (B)    Motions to continue a hearing must be filed at least four business days prior to
            the scheduled hearing.

     (C)    All motions for extensions of time and for re-scheduling of hearings must include
            the following or they will not be considered:

            (i)     The specific grounds for the extension or the re-scheduling of the hearing;

            (ii)    The number of previous extensions or continuances, if any, granted to
                    each party;

            (iii)   A statement of the impact that the requested extension or continuance
                    would have on all other previously set deadlines;

            (iv)    A proposed schedule for any other affected deadlines, to be proposed only
                    after consulting with opposing counsel; and

            (v)     A statement of whether or not opposing counsel opposes the motion in
                    accordance with Local Civil Rule 7(m).

8.   DISCOVERY DISPUTES. The parties are referred to Local Civil Rule 26.2 and are
     expected to fully comply with its directives. Moreover, counsel are required, under both
     Federal Rule of Civil Procedure 26(f) and Local Civil Rule 7(m), to confer in good faith
     in an effort to resolve any discovery dispute before bringing it to the Court’s attention.
     The parties shall not file a discovery motion without prior consultation with
     opposing counsel. If, in what should be the unusual case, the parties are unable to resolve
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      their discovery dispute, counsel shall contact Chambers jointly in order to arrange for a
      telephone conference with the Court.

9.    DEPOSITIONS. Counsel must adhere to the following guidelines when taking a
      deposition:

      (A)    Counsel for the deponent shall refrain from gratuitous comments and from
             directing the deponent as to times, dates, documents, testimony, and the like;

      (B)    Counsel shall refrain from cuing the deponent by objecting in any manner other
             than stating an objection for the record followed by a word or two describing the
             legal basis for the objection;

      (C)    Counsel shall refrain from directing the deponent not to answer any question
             except for reasons which conform to Federal Rule of Civil Procedure 30(c)(2);

      (D)    Counsel shall refrain from engaging in dialogue on the record during the course of
             the deposition;

      (E)    If counsel for any party or person given notice of the deposition believes that
             these conditions are not being adhered to, that counsel may call for suspension of
             the deposition and then immediately apply to the Court for a ruling and remedy.
             When appropriate, the Court will impose sanctions;

      (F)    All counsel are to conduct themselves in a civil, polite, and professional manner.
             The Court will not countenance incivility or other behavior during the deposition
             demonstrating that the examination is being conducted in bad faith or to simply
             annoy, embarrass, or oppress the deponent; and

      (G)    In accordance with Federal Rule of Civil Procedure 30(d)(1), no deposition may
             last more than seven hours (exclusive of breaks), except by leave of the Court or
             stipulation of the parties.

10.   MOTIONS GENERALLY. Parties must comply with the following instructions when
      briefing any motion:

      (A)    Memoranda of points and authorities filed in support of or in opposition to any
             motion may not, without leave of the Court, exceed forty-five (45) pages, and
             reply memoranda may not exceed twenty-five (25) pages, with margins set at one
             inch and with all text double-spaced (excepting footnotes) and in twelve-point
             Times New Roman (including footnotes).

      (B)    Where a party fails to file a memorandum of points and authorities in
             opposition to a given motion, the Court may treat the motion as conceded,
             except with respect to motions for summary judgment. See LCvR 7(b); Winston
             & Strawn, LLP v. McLean, 843 F.3d 503, 505-08 (D.C. Cir. 2016) (citing Fed. R.
             Civ. P. 56(e)(3)). Similarly, where a party fails to respond to arguments in
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             opposition papers, the Court may treat those specific arguments as conceded. See
             Phrasavang v. Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

      (C)    A party may not file a sur-reply without first requesting leave of the Court.

      (D)    Exhibits shall be properly edited to exclude irrelevant material and to direct the
             Court’s attention to the pertinent portions thereof.

      (E)    Each submission shall be accompanied by a table of cases and other authorities
             cited therein.

      (F)    Every pleading or paper, regardless of whether it is signed by an attorney or a pro
             se party, shall contain the name, address, telephone number, and, for an attorney,
             bar identification number. See LCvR 5.1(e).

11.   MOTIONS TO DISMISS. The parties are reminded that a motion to dismiss under Rule
      12(b)(6) or a motion for judgment on the pleadings under Rule 12(c) presenting matters
      outside the pleadings may be converted to a motion for summary judgment. FED. R. CIV.
      P. 12(d). If a motion to dismiss presents matters outside the pleadings, all parties must
      comply fully will the instructions set forth below regarding motions for summary
      judgment.

12.   MOTIONS FOR SUMMARY JUDGMENT. Parties must comply with the following
      instructions when briefing motions for summary judgment and the Court may strike
      papers not in conformity therewith:

      (A)    Cases Involving Judicial Review of Administrative Agency Actions.

                (i) In accordance with Local Civil Rule 7(h)(2), each motion for summary
                    judgment, and opposition thereto, shall include a statement of facts with
                    references to the administrative record. The parties must furnish precise
                    citations to the portions of the administrative record on which they rely;
                    the Court need not consider materials not specifically identified. See FED.
                    R. CIV. P. 56(c)(3).

                (ii) In accordance with Local Civil Rule 7(n), the parties shall provide the
                     Court with a joint appendix containing copies of those portions of the
                     administrative record that are cited or otherwise relied upon in any
                     memorandum in support of, or in opposition to, a motion for summary
                     judgment.

      (B)    All Other Cases.

                (i) The Court strictly adheres to the dictates of Local Civil Rule 7(h),
                    which requires that each party submitting a motion for summary judgment
                    attach a statement of material facts for which that party contends there is
                    no genuine dispute, with specific citations to those portions of the record
                    upon which the party relies in fashioning the statement. The party
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                     opposing the motion must, in turn, submit a statement enumerating all
                     material facts which the party contends are genuinely disputed and thus
                     require trial. See LCvR 7(h)(1). The parties are strongly encouraged to
                     carefully review Jackson v. Finnegan, Henderson, Farabow, Garrett &
                     Dunner, 101 F.3d 145 (D.C. Cir. 1996), on the subject of Local Civil Rule
                     7(h).

                (ii) The parties must furnish precise citations to the portions of the record on
                     which they rely; the Court need not consider materials not specifically
                     identified. See FED. R. CIV. P. 56(c)(3).

               (iii) The moving party’s statement of material facts shall be a short and concise
                     statement, in numbered paragraphs, of all material facts as to which the
                     moving party claims there is no genuine dispute. The statement must
                     contain only one factual assertion in each numbered paragraph.

               (iv) The party responding to a statement of material facts must respond to each
                    paragraph with a correspondingly numbered paragraph, indicating
                    whether that paragraph is admitted or denied. If a paragraph is admitted
                    only in part, the party must specifically identify which parts are admitted
                    and which parts are denied.

                (v) The Court may assume that facts identified by the moving party in its
                    statement of material facts are admitted, unless such facts are
                    controverted in the statement filed in opposition to the motion. See LCvR
                    7(h)(1).

               (vi) The responding party must include any information relevant to its
                    response in its correspondingly numbered paragraph, with specific
                    citations to the record. However, if the responding party has additional
                    facts that are not directly relevant to its response, it must identify such
                    facts in consecutively numbered paragraphs at the end of its responsive
                    statement of facts. If additional factual allegations are made, the
                    opponent must file a responsive statement of its own.

13.   MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior rulings
      are strongly discouraged. Such motions shall be filed only when the requirements of
      Federal Rules of Civil Procedure 54(b), 59(e), and/or 60(b) are met. If such a motion is
      filed, it shall not exceed ten (10) pages in length. Moreover, the Court will not
      entertain: (a) motions which simply reassert arguments previously raised and rejected by
      the Court; or (b) arguments which should have been previously raised, but are being
      raised for the first time. See Nat’l Trust v. Dep’t of State, 834 F. Supp. 453, 455 (D.D.C.
      1995). Motions not in compliance with these instructions may be stricken.

14.   SETTLEMENT. The parties are expected to evaluate their respective cases for purposes
      of settlement. The Court encourages the use of alternative dispute resolution—e.g.,
      mediation or neutral case evaluation. The use of these methods is available at any time, as
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is a settlement conference before a magistrate judge. If counsel are interested in pursuing
these options, they may contact Chambers at any time. If the case settles in whole or in
part, counsel shall promptly advise the Court.

SO ORDERED.


                                                             /s/
                                              COLLEEN KOLLAR-KOTELLY
                                              United States District Judge
